                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                    ASHEVILLE DIVISION

CARYN DEVINS STRICKLAND,                         )
                                                 )
                              Plaintiff,         )
                                                 )
v.                                               ) Civil No. 1:20-cv-00066-WGY
                                                 )
UNITED STATES, et al.,                           )
                                                 )
                              Defendants.        )

                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Caryn Devins Strickland appeals to the United States

Court of Appeals for the Fourth Circuit from (1) this Court’s opinion of August 9, 2024 and

judgment of August 16, 20241 in favor of Defendants (ECF Nos. 429, 432) (2) this Court’s order

of September 9, 2024 denying Plaintiff’s motion for reconsideration (ECF No. 439), and (3) all

other orders, holdings, or rulings that are related to or encompassed by those orders or otherwise

subject to merger in the final judgment. This appeal is timely under Federal Rules of Appellate

Procedure 4(a)(1)(B) and 4(a)(4)(A)(ii), (iv).

       This the 15th day of October, 2024.

                                                     Respectfully Submitted,

                                                     /s/ Cooper Strickland
                                                     Cooper Strickland
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                                                     Counsel for Plaintiff


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         The judgment was signed by the Clerk of Court on August 12, 2024, but it was not filed
and entered on the public docket until August 16, 2024. See ECF No. 432; Fed. R. App. P.
4(a)(7)(A) (defining “entry of judgment” for purposes of appeal).
                                                 1

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                                 CERTIFICATE OF SERVICE
I hereby certify that on the 15th day of October, 2024, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

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                                                              /s/ Cooper Strickland
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